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6    Attorney for Defendant
     STEPHEN PIRT
7

8
                                   UNITED STATES DISTRICT COURT
9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                )
11   UNITED STATES OF AMERICA,                  )   Case No. 2:11-CR-00468-TLN
                                                )
12                                              )   STIPULATION AND ORDER RE:
                              Plaintiff,        )   DEFENDANT STEPHEN PIRT’S
13                                              )   REVISED SENTENCING
             vs.                                )
14                                              )   SCHEDULE
     STEPHEN DOUGLAS PIRT,                      )
15                                              )
                             Defendant.         )
16                                              )
                                                )
17
             The United States of America, by and through Assistant United States
18

19   Attorney Michael D. Anderson, and defendant Stephen Pirt, by and through counsel

20   Scott L. Tedmon, hereby agree and stipulate the current sentencing schedule be
21
     revised to provide defense counsel necessary additional time to prepare. The
22
     proposed revised sentencing schedule is as follows:
23
             Judgment and Sentencing: November 5, 2015 at 9:30 a.m.
24

25           Reply or Statement of Non-Opposition filed by: October 29, 2015

26           Formal Objections filed by: October 22, 2015
27
             Final PSR filed with the Court and disclosed to counsel by: October 15, 2015
28
             Informal Objections to the draft PSR filed by: October 8, 2015


     Stipulation and Order                                  Case No. 2:11-CR-00468-TLN
                                                1
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1            Based on the foregoing, the undersigned parties agree and stipulate to the
2
     revised sentencing schedule for defendant Stephen Pirt.
3
     IT IS SO STIPULATED.
4
     DATED: October 1, 2015                    BENJAMIN B. WAGNER
5
                                               United States Attorney
6
                                               /s/ Michael D. Anderson
7                                              MICHAEL D. ANDERSON
                                               Assistant United States Attorney
8

9    DATED: October 1, 2015                    LAW OFFICES OF SCOTT L. TEDMON

10                                             /s/ Scott L. Tedmon
                                               SCOTT L. TEDMON
11
                                               Attorney for Defendant Stephen Pirt
12

13
                                            ORDER
14

15
             GOOD CAUSE APPEARING and based on the foregoing stipulation, it is
16
     hereby ordered the revised sentencing schedule set forth above for defendant
17

18   Stephen Pirt is hereby adopted.

19   IT IS SO ORDERED.
20
     Dated: October 7, 2015
21

22
                                                      Troy L. Nunley
23                                                    United States District Judge

24

25

26

27

28




     Stipulation and Order                                Case No. 2:11-CR-00468-TLN
                                                2
